.
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                     IN THE UNITED STATES DISTRICT COURT 

                         FOR THE DISTRlCT OF MONTANA, 

                               BILLINGS DIVISION 


     DENISE FABRIZIUS and                        )    Cause No. 08-114-BLG-RFC
     WILLIAM FABRIZIUS,                          )
                                                 )
                       Plaintiffs,               )
                                                 )
     v.                                          )           SPECIAL VERDICT
     KEITH R. SHULTZ, M.D.,                      )
                                                 )
                                                 )
                       Defendant.                )



           All seven (7) of your number must decide and agree on each of the following

     questions.

           WE, THE JURY, ANSWER THE FOLLOWING QUESTIONS:




                                            1

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       QUESTION NO.1:              Was Dr. Shultz negligent?

       ANSWER:

                     Yes - - - -

       (NOTE TO JURORS:)

       If you have answered Question No. 1 "NO," then do not answer any further

questions. The foreperson should sign the Special Verdict form on page 3. The bailiff

should be notified that the jury has concluded its deliberations and reached a verdict. The

bailiff will then notify the Judge and return you to the courtroom.

       If you have answered Question No.1 "YES," then you must answer Question No.

2.

       QUESTION NO.2:              Was Dr. Shultz's negligence a cause of the injury to

Denise Fabrizius?

       ANSWER:

                     Yes 
- - - -                No _ _ __

      (NOTE TO JURORS:) 


      If you have answered Question No.2 and your answer is "NO," do not answer any

further questions. The foreperson should sign the Special Verdict fonn on page 3. The

bailiff should be notified that the jury has concluded its deliberations and reached a

verdict. The bailiff will then notify the Judge and return you to the courtroom.

      If you have answered Question No.2 and your answer was "YES," then you must

answer Question No.3.
                                             2
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      QUESTION NO.3:              What is the amount of Plaintiffs' damages?

      ANSWER:

      Past medical care, treatment and services

      Future medical care, treatment and services                  $_---­

      Past lost earnings                                           $_---­

      Future lost earnings                                         $

      Past loss of household services                              $_---­

      Future loss of household services                            $_----­

      Loss of enjoyment of life                                    $_---­

      Physical pain and emotional pain and suffering               $---~~-

      Billy Fabrizius' loss of consortium                          $_---­

      TOTAL                                                        $_---­


       After answering the questions} date and sign the Special Verdict form and contact
the bailiff.
                        fA
      DATED this     Jf
                     .   -day. of May, 2010.


                                          !




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